     Case 2:10-cv-01440-NJB-ALC Document 45 Filed 09/13/10 Page 1 of 3



                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

GULF FLEET TIGER                                 CIVIL ACTION
ACQUISITION, LLC

VERSUS                                           NO: 10-1440 c/w
                                                 10-1802

THOMA-SEA SHIP BUILDERS,                         SECTION: "A" (5)
LLC, ET AL.



                                  ORDER

     Before the Court is a Motion to Dismiss for Failure to State

a Claim Under Rule 12(b)(6) (Rec. Doc. 27) filed by Gulf Offshore

Logistics, LLC.    Plaintiff Gulf Fleet Tiger Acquisition, LLC

opposes the motion.    The motion, set for hearing on September 1,

2010, is before the Court on the briefs without oral argument.

     This dispute arises out of a contract between Plaintiff and

Thoma-Sea Ship Builders, LLC for construction of a vessel.

Plaintiff alleges that Thoma-Sea breached the contract by failing

to complete the vessel as promised for the price agreed.          On June

9, 2010, Thoma-Sea chartered the vessel to Gulf Offshore

Logistics, LLC, movant herein.      On June 23, 2010, Plaintiff filed

a second complaint against Thoma-Sea and joined Gulf Offshore as

a defendant.   Plaintiff asserts claims for breach of contract and

unfair trade practices under state law against Thoma-Sea.          With

respect to Gulf Offshore the complaint states only that “Gulf


                                    1
     Case 2:10-cv-01440-NJB-ALC Document 45 Filed 09/13/10 Page 2 of 3



Fleet Tiger is also entitled to injunctive relief against Gulf

Offshore Logistics, LLC, precluding it from chartering and

utilizing the Vessel.”1    (CA10-1802, Rec. Doc. 1 ¶ 22).

     Gulf Offshore moves the Court to dismiss the complaint as to

the claims asserted against it.      Gulf Offshore points out that it

is not a party to the vessel contract and that a demand for

injunctive relief does not state a plausible claim.         Gulf Fleet

Tiger rejoins that it has “easily stated a cause of action

against [Gulf Offshore] for a permanent injunction.”         (Rec. Doc.

34 at 1).   Gulf Fleet Tiger points out that Gulf Offshore is

currently in possession of the vessel and utilizing it in its own

operations in the Gulf of Mexico.

     Gulf Offshore is correct in that the complaint does not

state a cause of action against it.       Gulf Offshore was not a

party to the vessel contract so the claims for breach of contract

and unfair trade practices, which relate solely to Thoma-Sea’s

conduct, do not pertain to Gulf Offshore.        The counts for breach

of contract and unfair trade practices do not even refer to Gulf

Offshore, which is perfectly understandable given that Gulf

Offshore played no role in disrupting Plaintiff’s expectations

with respect to the vessel construction contract.         The request


     1
       Gulf Fleet Tiger previously moved the Court for a
preliminary injunction to prevent Thoma-Sea from chartering the
vessel to any other party during the pendency of this lawsuit.
(CA10-1440, Rec. Doc. 7). The Court denied that request. (Rec.
Doc. 8).

                                    2
     Case 2:10-cv-01440-NJB-ALC Document 45 Filed 09/13/10 Page 3 of 3



for injunctive relief against Gulf Offshore is just that-–a

standalone request to enjoin a party against whom no substantive

claim is asserted.    Contrary to Gulf Fleet Tiger’s assertion, an

injunction is not a cause of action.       An injunction, like

damages, is but one potential remedy to which a party might be

entitled if it can prevail on a substantive claim.         Without a

substantive claim there can be no injunction.        Gulf Fleet Tiger’s

complaint does not state a substantive claim against Gulf

Offshore upon which the remedy of an injunction can be based.

     Accordingly, and for the foregoing reasons;

     IT IS ORDERED that the Motion to Dismiss for Failure to

State a Claim Under Rule 12(b)(6) (Rec. Doc. 27) filed by Gulf

Offshore Logistics, LLC is GRANTED.       The claims against Gulf

Offshore are dismissed.

     September 13, 2010


                                     JAY C. ZAINEY
                              UNITED STATES DISTRICT JUDGE




                                    3
